                       UNITED STATES DISTRICT COURT FOR THE
                       WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION

                                 DOCKET NO. 3:12cr188-FDW

UNITED STATES OF AMERICA                      )
                                              )       PRELIMINARY ORDER
       v.                                     )         OF FORFEITURE
                                              )
(26) DARYL WILKINSON                          )


       In the Bill of Indictment in this case, the United States sought forfeiture of property of the

Defendant as property that was used or intended to be used to facilitate the crimes charged,

which would be subject to forfeiture under 21 U.S.C. § 853.

       Defendant entered into a plea agreement; subsequently pled guilty to Count One in the

Bill of Indictment; and was adjudged guilty of the offense charged in that count. In the plea

agreement and orally at the plea hearing, Defendant has agreed to forfeit specific property as

described below.

       It is therefore ORDERED:

       1.      Based upon Defendant’s plea of guilty and admission that the property is proceeds

of a violation of 18 U.S.C. ' 1962(d), the United States is authorized to seize the following

property belonging to Defendant, and it is hereby forfeited to the United States for disposition

according to law, provided, however, that such forfeiture is subject to any and all third party

claims and interests, pending final adjudication herein:

       $2,000 in United States currency from Defendant’s commissary account in NY DOC

       2.      Pursuant to 21 U.S.C. § 853(n)(1), the government shall publish notice of this

order; notice of its intent to dispose of the property in such manner as the Attorney General may

direct; and notice that any person, other than the Defendant, having or claiming a legal interest in




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any of the above-listed forfeited property must file a petition with the Court within thirty days of

the final publication of notice or of receipt of actual notice, whichever is earlier. This notice shall

state that the petition shall be for a hearing to adjudicate the validity of the petitioner’s alleged

interest in the property, shall be signed by the petitioner under penalty of perjury, and shall set

forth the nature and extent of the petitioner’s right, title or interest in each of the forfeited

properties and any additional facts supporting the petitioner’s claim and the relief sought. The

United States may also, to the extent practicable, provide direct written notice to any person

known to have alleged an interest in property that is the subject of this Order of Forfeiture, as a

substitute for published notice as to those persons so notified.

       3.      Upon adjudication of all third-party interests, this Court will enter a Final Order

of Forfeiture pursuant to 21 U.S.C. § 853(n).

                                                 Signed: June 10, 2013




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